                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

K.C. HOPPS, LTD.,                                    )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       Case No. 20-cv-00437-SRB
                                                     )
THE CINCINNATI INSURANCE COMPANY,                    )
INC.,                                                )
                                                     )
                Defendant.                           )

                                             ORDER

       Before the Court is Defendant The Cincinnati Insurance Company’s (“Defendant”)

Motion to Dismiss. (Doc. #8.) For the reasons set forth below, the motion is DENIED.

       In this case, Plaintiff K.C. Hopps, Ltd. (“Plaintiff”) seeks insurance coverage related to

COVID-19 under an all-risk property insurance policy it purchased from Defendant. On June

22, 2020, Defendant filed the pending motion to dismiss under Federal Rule of Civil Procedure

12(b)(6). On July 22, 2020, this case was transferred from Judge Roseann Ketchmark to the

undersigned. (Doc. #22.)

       The undersigned is also presiding over a case captioned Studio 417, Inc., et al. v. The

Cincinnati Insurance Company, Case No. 20-cv-03127-SRB. Studio 417 involves the same

Defendant, similar insurance provisions, and similar factual allegations as those asserted in this

case. Defendant also moved to dismiss Studio 417 under Rule 12(b)(6) based on similar legal

arguments that it presents in this case. On August 12, 2020, the Court denied Defendant’s

motion to dismiss in Studio 417.

       For substantially the same reasons as those in the Studio 417 Order, the Court finds that

Plaintiff’s claims against Defendant are adequately stated. Consequently, Defendant’s Motion to




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Dismiss (Doc. #8) is DENIED. It is further ORDERED that Defendant’s Motion to Stay

Discovery pending a ruling on its Motion to Dismiss (Doc. #26) is DENIED AS MOOT.

      IT IS SO ORDERED.


                                                /s/ Stephen R. Bough
                                                STEPHEN R. BOUGH
                                                UNITED STATES DISTRICT JUDGE
Dated: August 12, 2020




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